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EXHIBIT
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COMMONWEALTH OF KENTUCKY
FAYETTE CIRCUIT COURT
DIVISION ___
CIVIL ACTION NO. 18-CI-

FILED ELECTRONICALLY

VAL'S AUTO SALES & REPAIR, LLC PLAINTIFFS
VS. COMPLAINT
ROBERTO A. GARCIA DEFENDANT

SERVE THROUGH KY SECRETARY OF STATE:

VIA CERTIFIED MAIL

Restricted Delivery

1507 November Cir Apt. 202

Silver Springs, MD 20904
AND
EZEE TRANS, LLC DEFENDANT

SERVE THROUGH KY SECRETARY OF STATE:
VIA CERTIFIED MAIL

Restricted Delivery
20029 Northville Hills Ter

Ashburn, VA 20147-7020

HRA KEN HHH HH

Comes the Plaintiff, Val’s Auto Sales & Repair, LLC (Val’s), by counsel, and, for its
Complaint against the above-listed Defendants, hereby states as follows:
DICTION AND E
Venue is proper and this Court has subject matter jurisdiction over this action
because the accident which forms the basis for this Complaint occurred in Lexington,
Fayette County, Kentucky. Plaintiff seeks damages in excess of the jurisdictional limits of

this Court.

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Presiding Judge: HON. PAMELA GOODWINE (622212)

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PARTIES

1, The Plaintiff, Val’s, is and was at all times pertinent to this Complaint, a
Kentucky Limited Liability Company with a principal office in Lexington, Kentucky.

2. Upon information and belief, Defendant, Roberto Garcia, is and was at all
times relevant to this Complaint a resident of Silvers Springs, Maryland, and can be
served by the long-arm statute through the Kentucky Secretary of State at 1507 November
Cir. Apt. 202, Silver Springs, MD 20904.

3. Defendant, Ezee Trans, LLC, is and was at all times relevant to this ;
Complaint a foreign corporation licensed to conduct business in Kentucky. Ezee Trans
LLC’s principal address is 20029 Northville Hills Ter., Ashburn, Virginia 20147, and may
be served by the long-arm statute through the Kentucky Secretary of State, at 20029
Northville Hills Ter., Ashburn, VA 20147-7020.

FACT,

4. On September 1, 2017, Ezee Trans LLC (Ezee Trans) via its employee,
Roberto Garcia, was hired to pick up a 2016 Mercedes Benz Sprinter Van at Specialty Gulf
Coast Yard in Gulfport, Mississippi for transport to Lexington, Kentucky to Val’s.

5. Ezee Trans loaded the Sprinter Van on a flatbed commercial vehicle which

was driven by Mr. Garcia and owned by Ezee Trans.

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6. On September 2, 2017, while nearing Val’s in Lexington, Kentucky, Mr.
Garcia was involved in a single vehicle collision with a railroad bridge.

7. While attempting to drive under the bridge, the Sprinter Van impacted the
subject bridge causing damage to the Sprinter Van.

8. A police report was generated whereby Mr. Garcia admits hitting the subject

bridge.

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9. Liability in this matter is clear.

COUNT I

NEGLIGENCE
(Roberto Garcia)

10. Plaintiff repeats, re-alleges, and reasserts each and every allegation
contained within the preceding paragraphs as though set forth fully herein.

11. Defendant, Roberto Garcia, owed Plaintiff a duty to use reasonable care in
the operation of his motor vehicle while transporting Plaintiffs property.

12, Defendant, Roberto Garcia, operated his motor vehicle in such a negligent
manner as to cause the collision between the transported Sprinter Van and the railroad
bridge.

13. Asa direct and proximate result of the negligence of Defendant, Roberto
Garcia, Plaintiff has suffered damages.

OUNT II
VICARIOUS LIABILITY
(Ezee Trans)

14. Plaintiff repeats, re-alleges, and reasserts each and every allegation
contained within the preceding paragraphs as though set forth fully herein.

15. Defendant Garcia was operating the vehicle in course of his employment at
the time of the accident.

16. | Defendant Ezee Trans is vicariously liable for the acts and omissions of its
employee, Defendant Garcia.

COUNT IL
NEGLIGENT ENTRUSTMENT

1, Plaintiff repeats, re-alleges, and reasserts each and every allegation
contained within the preceding paragraphs as though set forth fully herein.

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2, Defendant Garcia was operating a vehicle owned by Defendant Ezee Trans
at the time of the accident.

3. Defendant Garcia has had previous traffic citations for speeding and other
infractions.

4. Defendant Ezee Trans negligently entrusted Defendant Garcia with the

vehicle.
COUNT IV
PUNITIVE DAMAGES
5- The Plaintiff repeats, re-alleges, and reasserts each and every allegation

contained within the preceding paragraphs, as though set forth fully herein.
6. The conduct of the Defendants as described above was so willful, wanton
and grossly negligent that Plaintiff is entitled to an award of punitive damages.

COUNT V
CAUSATION

ve The Plaintiff repeats, re-alleges, and reasserts each and every allegation
contained within the preceding paragraphs, as though set forth fully herein.
8. As a direct and proximate result of the Defendants’ conduct individually and
acting in concert, the Plaintiff has been caused to suffer the following damages:
a. Actual, foreseeable, incidental, and consequential damages;
b. Punitive damages against each Defendant;
c. Attorney’s fees, costs, and legal expenses as allowed by law; and
d. Any and all other just and proper relief including, but not limited, to
equitable relief to which Plaintiff may be entitled.
WHEREFORE, the Plaintiff prays the Court:

(a) Fora trial of this case by jury;

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(b) Fora judgment against the Defendants for the Plaintiffs’ damages;
(c) For all of the damages set forth in this Complaint including, but not
limited to actual, foreseeable, incidental, compensatory and punitive damages, pre-
judgment and post-judgment interest, and attorneys’ fees and costs.
(d) Any and all other equitable relief to which this Court may deem
Plaintiff entitled.
Respectfully submitted,
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COUNSEL FOR PLAINTIFF

 
 

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